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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

Southern Africa Enterprise         )
Development Fund,                  )
                                   )
      Plaintiff                    )
                                   )
v.                                 )     C.A. No. 21-cv-1463-GBW
                                   )
Ironshore Specialty Insurance      )
Company,                           )
                                   )
      Defendant.                   )


     RESPONSE TO IRONSHORE’S OPENING BRIEF IN SUPPORT OF
                     SUMMARY JUDGMENT



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I.    INTRODUCTION

      Ironshore seeks to avoid its insuring obligations by reimagining USAID’s

insufficient oversight and breach of fiduciary duty findings into findings of

contractual breach and by recasting the damages SAEDF is legally obligated to pay

into contractual disallowances. There can be no dispute, however, that USAID

found in its final decision that SAEDF failed to exercise sufficient oversight of

funds in breach of its fiduciary duties – “wrongful acts” under the Ironshore policy

– and as a result SAEDF was legally obligated to pay $2,337,402, a Loss that

exceeds the Policy’s retention and limits by more than $650,000. The pertinent

documents – the policy and USAID’s final decision – establish this as a matter of

law. Thus, Ironshore has failed to establish that there is no coverage for the

USAID Claim as a matter of law and its motion for summary judgment on Counts

1 and 2 must be denied.

      Likewise, because Ironshore never had a reasonable basis for denying

coverage and delayed and avoided SAEDF’s attempts to resolve this and the

underlying matter, Ironshore has failed to establish that there are no genuine issues

of material fact regarding its breach of its duty of good faith and fair dealing and

its motion for summary judgment on Count 3 should be denied.
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II.    STATEMENT OF THE NATURE AND STAGE OF PROCEEDINGS

       USAID awarded a grant to SAEDF to promote private enterprise in southern

Africa through an investment portfolio. Ironshore issued a “Not-For-Profit Entity

and Directors, Officers Liability Insurance Policy” for the policy period September

13, 2013 to September 13, 2014 promising to “pay on behalf of [SAEDF] all Loss

which [SAEDF] shall be legally obligated to pay as a result of a Claim … for a

Wrongful Act.” (“Policy”). Despite this promise, Ironshore wrongfully denied

coverage for USAID’s final administrative decision finding SAEDF legally

obligated to pay $2,337,402 for failing to exercise sufficient oversight over

expenditures in breach of its fiduciary duties (“USAID Claim”). SAEDF filed this

action with three causes of action: (1) declaratory relief (2) breach of contract and

(3) breach of the duty of good faith and fair dealing. Fact discovery is closed and

the parties moved for summary judgment. SAEDF submits the following

Response to Ironshore’s Opening Brief in Support of its Motion for Summary

Judgment (D.I. 52).

III.   SUMMARY OF ARGUMENT

 1.    Ironshore has failed to establish as a matter of law that there is no coverage

for the USAID claim and its motion for summary judgment on Counts 1 and 2

must be denied. A plain reading of the Policy and USAID’s final decision

establishes that the USAID Claim arises out of SAEDF’s failure to exercise



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sufficient oversight of its expenditures in violation of its fiduciary duties. As a

result, SAEDF is legally obligated to pay $2,337,402.00. This sum is Loss because

whether it is “compensatory damages” and/or a “judgment” – both of which are

undefined in the Policy – Delaware law requires a plain, broad, common-sense

reading of the Policy that covers the legal liability resulting from the matters

included in the definition of Claim. Neither the record, the case law, nor the Policy

retention leads to a different result.

 2.   Ironshore reimagines USAID’s final decision on appeal against SAEDF as

finding a breach of contract. However, a plain reading of the pertinent documents

– the Policy and USAID’s final decision – establishes as a matter of law that

USAID found SAEDF liable because it failed to exercise sufficient oversight of

funds in breach of its fiduciary duties – there were no findings that SAEDF

breached the Grant agreement – and therefore the claim does not “arise out of” any

“contractual liability” that excludes it from coverage.

 3.   Ironshore has failed to establish as a matter of law that it did not breach the

duty of good faith and fair dealing and its motion for summary judgment on Count

3 must be denied. Ironshore breached the duty of good faith and fair dealing

because it had no “reasonable justification” for denying SAEDF’s insurance claim

given the lack of support for Ironshore’s unreasonable policy interpretations.

Ironshore also violated its duty of good faith and fair dealing by engaging in


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egregious conduct in its handling and delays in this matter. Ironshore has failed to

establish that it is entitled to summary judgment as a matter of law or that there are

on no genuine issues of material fact.

IV.   COUNTER-STATEMENT OF RELEVANT FACTS

       The legal questions of policy interpretation presented here are whether

SAEDF’s liability arises out of “contractual liability” and the resulting obligation

to pay is “Loss.” To answer these legal questions, the Court need only look to

USAID’s final decision and the Policy. Yet, Ironshore’s purported “Statement of

Undisputed Material Facts” consists largely of selective excerpts and strained

interpretations of ancillary documents characterized as “facts.” (See e.g. ⁋⁋5,7, 12;

and ⁋8 which is not cited in Ironshore’s Brief). These “facts” are immaterial to the

legal questions and only muddy the water in service of Ironshore’s attempt to

recast the clear findings of USAID’s final decision.

      SAEDF refers the Court to its separate “Concise Statement of Facts in

Support of Plaintiff’s Motion for Partial Summary Judgment” (D.I. 55), its separate

“Response to Ironshore’s Concise Statement of Facts” (“SOF-Response”) and its

“Concise Statement of Material Facts in Dispute” (“SOMF”) filed herewith

pursuant to paragraph 9(b) of this Court’s Scheduling Order.




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V.     ARGUMENT

     A. Ironshore Has Failed To Establish As A Matter Of Law That There Is
        No Coverage For The USAID Claim And Its Motion For Summary
        Judgment On Counts 1 And 2 Must Be Denied.

       1. SAEDF is Legally Obligated to Pay “Loss”

       The pertinent documents – the policy and USAID’s final decision – establish

beyond dispute and as a matter of law that USAID found that SAEDF failed to

exercise sufficient oversight of funds in breach of its fiduciary duties – “wrongful

acts” under the Policy. As a result, SAEDF was legally obligated to pay

$2,337,402, a Loss that exceeds the Policy’s retention and limits. Ironshore’s

attempts to avoid this result do not establish otherwise and fail as a matter of law.

       First, as detailed in SAEDF’s Brief,1 the sum SAEDF is legally obligated to

pay is Loss because whether “compensatory damages” or a “judgment” – both

undefined in the Policy – Delaware law requires a plain, broad, common-sense

reading of the Policy that covers the liability resulting from the matters included in

the definition of Claim. (D.I. 56 at pp. 8-11).2 Plus, when asserted by a government



1
  To avoid repetition, SAEDF incorporates herein its arguments in its “Opening Brief
in Support of Plaintiff’s Motion for Partial Summary Judgment” (“SAEDF’s Brief”
at D.I. 56).
2
  Because policy interpretation is a question of law, Ironshore’s reliance on SAEDF’s
“characterization” of its Loss (or any other document) is irrelevant. Syngenta, 2024
WL 763418 at *13 (rejecting discovery into party’s subjective belief into undefined
policy term). It is equally irrelevant to policy interpretation that the Federal Rules
of Civil Procedure or Appellate Procedure use a narrow definition of “judgment” in
the context of its rules for judicial proceedings. (D.I. 52 at 17). See Intel Corp. v.

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agency, “damages” include regulatory harm. Id.

      Second, as stated in SAEDF’s Brief (D.I. 56 at p. 11), Ironshore’s continued

reliance on the word “disallowance” as indicating something other than “damages”

is a tactic to suggest – without overtly arguing against established Delaware law –

that the Loss here is uninsurable restitution. (D.I. 52 at p. 15-16). But even if

SAEDF’s loss is deemed restitution, such damages are still a measure of

compensatory damages. In re Estate of Corriea, 719 A.2d 1234, 1241 (D.C. App.

Ct. 1998) (finding insured lawyer asserted covered “damages” where client

awarded disgorgement as restitution and “just compensation for the wrong”

suffered for lawyer’s breach of fiduciary duty).3 Plus, Ironshore’s assertion that

SAEDF’s loss is not damages is further undermined by the fact that “disallowance”

is a remedy available to USAID provided by regulation.4 2 C.F.R. 200.339.

      Third, Ironshore’s reliance on Zurich Am. Ins. Co. v. Syngenta Corp.



Am. Guar. & Liab. Ins. Co., 51 A.3d 442 (Del. 2012) (“‘judgment’ generally refers
to a decision by some adjudicative body as to the parties’ rights.”).
3
  Thus, Ironshore’s references to the use of “repay” or “refund” (see Ironshore SOF
⁋⁋5, 7, 15) in documents or testimony are irrelevant.
4
  To the extent Ironshore argues that the basis of USAID’s decision was that
SAEDF’s expenditures were “contrary to the restrictions in the Grant Agreement”
(which assertion is disputed in SOF-Response ⁋⁋2, 12 and infra at p. 12) it concedes
implicitly that the resulting damages are contract damages, which are compensatory
damages. Siga Tech., Inc. v. PharmAthene, Inc., 132 A.2d 1108, 1130 (Del. 2015)
(“Expectation damages thus require the breaching promisor to compensate the
promisee for the promisee’s reasonable expectation of the value of the breached
contract, and, hence, what the promise lost.”).

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Protection LLC does not lead to a different result. In that case, the court was

deciding whether a letter received by the insured was a “claim for damages.”

Focusing primarily on what constitutes a “claim”, the court stated:

      If the letter demands—or even requests —anything, it is an
      opportunity to discuss a process by which claims not yet made might
      be adjudicated or otherwise resolved in the future. And even if it
      were a “claim,” it does not request or demand “damages,” a word
      that means “[m]oney claimed by, or ordered to be paid by one
      person to another as compensation for a loss or injury.

2024 WL 763418 at *9 (Del. 2024). However, the court was not addressing the

question at issue here, and the holding does not rely on or invoke “compensation

for a loss or injury” (on which Ironshore relies) as essential to the definition:

      As more fully developed below, however, we can discern the
      ordinary meaning of “claim for damages”: in the absence of a
      contractual definition, a “claim for damages,” is a demand or request
      for monetary relief by or on behalf of an identifiable claimant.

Id. at *8. The court’s use of “monetary relief” is not surprising given the case law

cited in SAEDF’s Brief supporting a broad interpretation and application of the

term “damages” in the context of insurance. (D.I. 56 at p. 10-11).

      Finally, as stated in SAEDF’s Brief, Ironshore’s invocation of the retention

here is equally unfounded – SAEDF is not “obligated to pay before coverage

attaches”. Rather, the Policy promises that Ironshore will pay Loss that is “in

excess of the applicable Retention” and that Ironshore will make such payment “on

behalf of SAEDF” (D.I. 56 at p. 12-13). SAEDF’s legal obligation to pay



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$2,337,402 to USAID far exceeds both the $150,000 Retention and the Policy’s

$1,500,000 limit of liability, regardless of SAEDF’s defense costs, id., which were

higher than Ironshore asserts. (SOF-Response ⁋⁋19).5

      2. SAEDF’s Liability Does Not “Arise Out of” a Contractual Liability
         and Therefore Is Not Excluded

      Ironshore seeks to avoid its insuring obligations to SAEDF by reimagining

USAID’s insufficient oversight and breach of fiduciary duty findings against

SAEDF into findings of contractual breach. However, this effort is betrayed by a

plain reading of the pertinent documents: the Policy and USAID’s final decision.

Together these documents establish as a matter of law that USAID found SAEDF

liable because it failed to exercise sufficient oversight of funds in breach of its

fiduciary duties – there were no findings that SAEDF breached the Grant agreement

– and therefore the claim does not “arise out of” any “contractual liability” that

excludes it from coverage.

      a) Ironshore Misinterprets and Misapplies the Contractual Liability
         Exclusion

      The legal question that Ironshore’s motion presents to this Court is whether

SAEDF’s liability as established by USAID’s final decision “arises out of”




5
 Ironshore’s reliance on Oyola v. 21st Cent. Centennial Ins. Co., 2020 WL 4344553
(Del. Sup. Ct. 2020) to suggest that payment of the retention is a “condition
precedent” overlooks the Policy, which does not so state. (SAEDF Ex. B, Section
V).

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SAEDF’s “contractual liability.” But Ironshore’s Brief all but ignores USAID’s

final decision (D.I. 52 at 3-7, 10-14), let alone the stated basis for its decision:

“SAEDF violated both its general fiduciary requirements and its internal controls

policies by not providing discernable oversight of ICP… SAEDF’s actions violated

its internal control requirements for making payments and its general fiduciary

responsibilities, which required SAEDF to exercise effective control and

accountability of all funds.” (Ex. A at p. 5-6). Instead, Ironshore focuses on the

underlying financial audit, the OIG decision, USAID’s initial decision6, SAEDF’s

appeal of that decision, various other documents and even SAEDF’s testimony in

this suit (D.I. 52 at p. 11) for any mention or reference to the Grant, as if the

applicable standard is whether there is a link to a contract or whether USAID could

have found a breach of contract. Ironshore thus misinterprets and misapplies the

exclusion.

      (i) Ironshore Misinterprets the “Contractual Liability” Exclusion

      First, Ironshore’s overbroad interpretation of the “arising out of” language is

unfounded. The “meaningful linkage” standard is not a limitless “but for” standard

as Ironshore portrays. Rather, the Delaware Supreme Court has more recently

provided guidance as to the contours of the “arising out of” language and clarified



6
  Note that USAID’s initial decision – like a trial court – was superseded by USAID’s
final decision on appeal.

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that the link between the relevant concepts must be more than a “tangential” or “but

for” relationship that would render the exclusion overbroad:

      “[Insurer’s] interpretation of ‘arising out of’ effectively extends
      coverage of the exclusion to just about anything remotely connected to
      the professional service. Courts have often held that professional
      service exclusions do not apply when the act complained of is only
      incidental to an insured’s professional services… In other words, a
      linkage must be meaningful, not tangential.”

ACE Am. Ins. Co. v. Guaranteed Rate, Inc., 305 A.3d 339, 348-49 (Del. 2023).

Rather, especially in the context of policy exclusions that must be read narrowly,

“the Court must look to the substance, or gravamen of the underlying lawsuit.”

Conduent State Healthcare LLC v. AIG Specialty Ins. Co., 2024 WL 55372 (Del.

Sup. Ct. 2024) (“It would be unreasonable for a fraud exclusion to eliminate

coverage for a loss related to contract claims.”). Thus, the Delaware Supreme

Court has found that the government’s claims, while related to the insured’s

underlying business, do not in fact “arise out of” the insured’s professional service

because the gravamen of the insured’s claim is the liability to the government for

wrongful conduct vis a vis the government, i.e. submitting false certifications under

the False Claims Act. Though false certifications might not have occurred but-for

the Insured’s professional services is irrelevant. Guaranteed Rate, 305 A.3d at 347;

Alexion Pharm., Inc. v. Endurance Assur. Corp., 2024 WL 639388 (Del. Sup. Ct.

2024).

      Second, Ironshore’s argument is not anchored to the Policy language at issue


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– “contractual liability”:

      alleging, arising out of, based upon or attributable to any actual or
      alleged contractual liability of the Not-For-Profit Entity, or any
      Insured Person under any express contract or agreement.”

Instead, Ironshore tries to show a “but-for” connection to the Grant and/or

obligations therein.

 “It is thus beyond dispute that, at the very least, USAID’s disallowance and
  resulting ‘claim’ against SAEDF has at least ‘some meaningful linkage’ to
  SAEDF’s Agreement with USAID, and thus ‘arises out of’ SAEDF’s contractual
  liability.” (D.I. 52 at p. 13).
 “Indeed, even SAEDF acknowledges that the claim arises at least in part out of
  the Agreement.” (D.I. 52 at p. 13).
 “Regardless whether USAID had additional authority for disallowing
  expenditures beyond the terms of the Agreement, the claim ‘arises out of’
  SAEDF’s contractual obligations, and is excluded from coverage.” (Id. at p. 14).

But, a contractual obligation is not the same as contractual liability – “The term

"contractual obligation" refers to the duty to pay or perform some certain acts

created by a contract or an agreement.”7 “Contractual liability” however is the

liability resulting from the breach of such obligation.

      Ironshore’s reliance on Eon Labs proves the point. The court decided that the

“products-hazard” exclusion barred coverage because the alleged injury was based

on the insured’s product notwithstanding allegations that the product was combined

with other products. The court decided that because the insured’s liability was



7
    Obligations, Cornell Law School              (last    visited   May   2,   2024),
https://www.law.cornell.edu/wex/obligation.

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based on product-liability theories from use of the insured’s product, the exclusion

must apply. Eon Labs Mfg., Inc. v. Reliance Ins. Co., 756 A.2d 889, 893-4 (Del.

2000). However, under Ironshore’s interpretation, the exclusion would also apply

to a “slip and fall” injury in the insured’s store-front because “but-for” the

manufacturing or sale of that product there would not have been an injury. But, as

the court made clear, it is the product liability exposure that was the gravamen of

both the exclusion and the lawsuit.

      Here, the exclusion – which must be construed narrowly – targets claims

“arising out of… contractual liability.” Accordingly, Ironshore’s reliance on

tangential or “but-for” links to the Grant in other documents or testimony are

insufficient to create a “meaningful linkage” where the gravamen of USAID’s final

decision is that SAEDF failed to exercise sufficient oversight of funds in violation

of its fiduciary duties and does not include any determination that SAEDF breached

the Grant.

      (ii)Ironshore Misapplies the “Contractual Liability” Exclusion

      As detailed in SAEDF’s Brief, the measure of Ironshore’s duty to indemnify

is the decision establishing SAEDF’s legal liability – USAID’s final decision. (D.I.

56 at p. 16). A plain reading of that decision makes clear that USAID did not find

that SAEDF breached the Grant. Ironshore’s attempts to rewrite these findings or




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impose its own theory of liability cannot lead to a different result.8

    The final decision makes clear that on appeal USAID:

     modified the reasoning in the initial decision: treating two findings as one
      and accepting SAEDF’s “unreasonableness” argument based on OMB
      Circular A-122. Instead, the final decision found SAEDF’s internal
      accounting policies required following the reasonableness guidelines as
      stated in OMB Circular A-122. (See SAEDF Ex. A at pp. 3-6)
     acknowledged that “Program Income” (i.e. the funds in question here) was
      not governed by the Grant or OMB regulations, only SAEDF’s internal
      policies and procedures:
             “The cost principles set forth in OMB Circular A-122 shall not apply
             to Program Income… Furthermore, the use of Program Income is
             subject to the Fund’s corporate and accounting policies and
             procedures… Since Program Income does not need to comply with
             OMB Circular A-122, the Fund may modify its corporate and
             accounting policies and procedures with respect to Program Income,
             but any such modifications are subject to approval of the SAEDF
             Board if such modifications would authorize the use of Program
             Income for costs which are unallowable under OMB Circular A-122.”
             Thus, SAEDF’s use of program income was not completely without
             restriction, as it still had to comply with SAEDF’s corporate and
             accounting policies. SAEDF’s Accounting Policies and Procedures
             Manual, effective at the time the costs were incurred to pay the
             management fee, still required SAEDF to exercise a certain level of
             fiduciary oversight over the funds and maintain certain internal
             controls.” (SAEDF Ex. A at p. 4).
     Relied on SAEDF’s internal policies for its decision that SAEDF violated its
      fiduciary duties by not exercising sufficient oversight of funds: “SAEDF
      violated both its general fiduciary requirements and internal controls policies
      by not providing discernible oversight of ICP… SAEDF’s actions violated its
      internal control requirements for making payments and its general fiduciary
      responsibilities, which required SAEDF to exercise effective control and
      accountability of all funds.” (SAEDF Ex. A at p. 5-6).


8
 Ironshore may not collaterally attack the final administrative decision. Taylor v.
Hatzel and Buehler, 258 A.2d 905, 907 (Del. 1969).

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Ironshore’s efforts to reimagine these findings with any tangential link to the Grant

and thus impose its own theory of liability are futile. (D.I. 52 at p. 11-13). Not

only are such tangential links irrelevant, see supra, but they are belied by the fact

that USAID does not rely on such provisions to establish SAEDF’s liability. For

example, Ironshore points to General Provisions ⁋1 as establishing what is

“allowable”, (D.I. 52 at p. 3-4, 12), but USAID’s decision does not rely on this

provision. Rather, USAID only refers to General Provisions ⁋3 regarding Program

Income and decides that the use of Program Income is not governed by the Grant,

but instead by SAEDF’s corporate and accounting policies. If USAID had

determined that SAEDF breached the Grant there would be no reason for USAID to

obfuscate or otherwise avoid stating that conclusion.

      Ironshore’s efforts to conflate a so-called “disallowance” with a breach of the

Grant agreement also does not lead to a different conclusion. As stated in SAEDF’s

Brief, USAID’s and OIG’s authority and SAEDF’s obligations as grantee are

anchored in the applicable statutes and regulations. USAID did not need to rely on

or otherwise assert a breach of the Grant agreement to establish SAEDF’s liability:

    The Inspector General Act of 1978 authorizes the OIG to provide
     independent oversight to prevent, detect and deter fraud, waste and abuse by




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       conducting audits and investigations. ADS Ch. 101.3.1.11;9 ADS Ch. 591;10
       US v. Westinghouse Elec. Corp., 788 F.2d 164 (3rd Cir. 1986).

     Here, the OIG identified “questioned costs” (Ex. 7 at p. 2), which regulations
      define as “a cost that is questioned by the auditor because of an audit finding:
      (1) Which resulted from a violation or possible violation of a statute,
      regulation, or the terms and conditions of a Federal award, including for
      funds used to match Federal funds; (2) Where the costs, at the time of the
      audit, are not supported by adequate documentation; or (3) Where the costs
      incurred appear unreasonable and do not reflect the actions a prudent person
      would take in the circumstances. 2 C.F.R. § 200.1; ADS Ch. 591

    Also, regardless of the Grant, USAID has authority to conduct audits. 2 C.F.R.

200.503. And what is “allowable” is defined in the applicable regulations:

“Disallowed costs means those charges to a Federal award that the Federal

awarding agency or pass-through entity determines to be unallowable, in

accordance with the applicable Federal statutes, regulations, or the terms and

conditions of the Federal award.” See 2 C.F.R. 200.1. The regulations also

establish that USAID’s remedy for grantee noncompliance includes “disallowance.”

2 C.F.R. 200.339.11 Finally, USAID’s regulations also detail its dispute resolution


9
   Available at https://www.usaid.gov/about-us/agency-policy/series-100/101. The
Court may take judicial notice of information posted on government websites as it
can be accurately and readily determined from sources whose accuracy cannot
reasonably be questioned. See e.g., London v. Del. Dep’t of Corr., 2021 WL
3422360, at *7 n.15 (D. Del. Aug. 5, 2021) (taking judicial notice of a job posting
on a government website).
10
    Available at https://www.usaid.gov/ads/policy/500/591
11
    Thus, contrary to Ironshore’s assertion (D.I. 52 at p. 12), SAEDF disputes that
what is “allowable” is only a contractual restriction that arises from the Grant
agreement, and as stated above, USAID’s final decision does not point to the Grant
for that standard.

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procedures. 2 CFR 700.15; ADS Ch. 303.3.23.12

       Thus, USAID’s decision regarding the allowability of questioned costs need

not – and did not – rely on or otherwise assert a breach of the Grant agreement to

establish SAEDF’s liability. In sum, Ironshore’s focus and reliance on the use of

the term “disallowance” or other tangential links to the Grant have no bearing and

certainly are not dispositive of the relevant inquiry here, namely whether USAID’s

final decision establishes that SAEDF’s liability “arises out of contractual

liability.”13

       Finally, the fact that Ironshore does not point to any legal support for its

application of the exclusion here reinforces that it is up-ending the applicable

standards. As stated in SAEDF’s Opening Brief, there are numerous decisions that

make clear that the “contractual liability” exclusion – or any exclusion – is not

intended to be applied so broadly that it swallows the coverage otherwise granted.

The interpretation that Ironshore proposes here leads to just that result because

conceivably all of SAEDF’s conduct could have a “but-for” link to the Grant since

it is the document by which SAEDF was awarded the money to embark on its

mission. Relevant caselaw makes clear that the mere existence of an agreement is



12
   Available at https://www.usaid.gov/about-us/agency-policy/series-300/303
13
   It is also irrelevant that SAEDF asserted to USAID that its final decision could be
challenged as a breach of the Grant. (D.I. 52 at p. 13). SAEDF’s recourse for USAID
final agency action has no bearing on USAID’s reasoning as to SAEDF’s liability.

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insufficient to trigger the contractual liability exclusion. (D.I. 56 at p. 18-19); see

e.g. Houbigant, Inc. v. Federal Ins. Co., 374 F.3d 192, 202 (3d Cir. 2004) (finding

contract exclusion does not apply because “Although the relationship between

[claimant] and insureds is contractual, the actions of the Insureds were

independently tortious.”)

      In sum, Ironshore’s motion for summary judgment on Counts 1 and 2 must

be denied as advancing an overbroad and unreasonable interpretation of the Policy

that it then misapplies to the claim at issue here. As stated in SAEDF’s Opening

Brief, Ironshore has the burden of establishing the applicability of the exclusion

here and it must do so based on a “strict and narrow” reading of the policy language

which it has failed to do here.

   B. Ironshore Cannot Establish as a Matter of Law that It Did Not Breach
      its Duty of Good Faith and Fair Dealing

      Ironshore’s argument misinterprets the applicable standards for a bad faith

claim against an insurance company. By relying primarily on decisions not

involving insurance, Ironshore does not address the scope of its duty of good faith

and fair dealing or its conduct at issue here that violates that duty. Thus Ironshore

fails to establish as a matter of law that it is entitled to summary judgment.

      With respect to an insurance policy, the implied duty of good faith and fair

dealing is multi-faceted. One incarnation is that the insurer may not delay or refuse

to pay a claim without a “reasonable justification”. Tackett v. State Farm Fire &


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Cas. Ins. Co., 653 A2d 254, 262-63 (Del. 1995); Dunlap v. State Farm Fire & Cas.

Ins. Co., 878 A.2d 434, 442 (Del. 2005). Hoechst Celanese Corp. v. Nat'l Union

Fire Ins. Co. of Pittsburgh Pennsylvania, 623 A.2d 1118, 1121 (Del. Super. Ct.

1992); Williams Union Boiler v. Travelers Indem. Co., No. CIV.A.01C-11-

001HLA, 2003 WL 22853534, at *1 (Del. Super. Ct. July 31, 2003).

      But an insurance company’s duty of good faith and fair dealing is not limited

to its “failure to pay”. Dunlap, 878 A.2d at 443. Rather, Ironshore has additional

obligations with respect to how it investigates, processes and otherwise responds to

claims. Dunlap, 878 A.2d at 443-44. Delaware law recognizes that “in an

insurance context, good faith requires:

      that the insurer act in a way that honors the insured’s reasonable
      expectations. This includes a duty, on the insurer’s part, ‘not to take
      advantage of the [parties’] unequal positions in order to become a
      secondary source of injury to the insured. The implied covenant of
      good faith requires more than just literal compliance with the policy
      provisions and statutes. It requires the insurer to act in a way that
      honors the insureds reasonable expectations.

Price v. State Farm Mut. Auto. Ins. Co., No. Civ.a. N11c-07069rrc, 2013 WL

1213292 at *13 (Del. Sup. Ct. Mar. 15, 2013), aff’d 77 A.3d 272 (Del. 2013).

Moreover, such misconduct is deemed willful or malicious when the insurer acts

with ‘reckless indifference to the plight of the insured’ or “conscious indifference to

the rights of others.” Maccari v. Bituminous Cas. Corp., 2010 WL 4959946 at

*[pin] (D. Del. 2010) aff’d 447 Fed.Appx. 340 (3rd Cir. 2011).



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      Based on the coverage arguments, Ironshore violated its duty of good faith

and fair dealing here because it cannot be said that Ironshore had a “reasonable

justification” for denying SAEDF’s insurance claim given the lack of support for

Ironshore’s unreasonable policy interpretations. What is more, Ironshore has also

violated its duty of good faith and fair dealing by engaging in egregious conduct in

its handling and delays in this matter. In particular,

    Ironshore was notified in December 2017 of USAID’s final decision and
     SAEDF’s legal obligation to pay, but Ironshore did not meaningfully respond
     for more than 10 months. SAEDF chased Ironshore repeatedly, including
     inviting Ironshore to participate in efforts to settle with USAID, but it was
     not until SAEDF accused Ironshore of abdicating its obligations that it denied
     the claim in a letter dated October 22, 2018. (SOMF at ⁋1).

    In that letter, Ironshore misrepresented certain facts about the claim and the
     proper application of the policy terms to those facts, which SAEDF identified
     in a letter dated June 28, 2019 and to which Ironshore never responded.
     (SOMF at ⁋2).

    Since 2019, Ironshore has put its interests ahead of SAEDF’s by delaying
     resolution of this matter. Ironshore repeatedly evaded, delayed and/or failed
     to respond to SAEDF’s entreaties to resolve this matter including through
     mediation. SAEDF requested mediation in January 2020 and after numerous
     requests, Ironshore finally agreed in June 2021 to schedule mediation.
     (SOMF at ⁋3).

All of these egregious delays exhibit Ironshore’s unreasonable handling of this

matter with reckless indifference to SAEDF’s plight, including SAEDF’s ongoing

financial condition, liquidation and wind-down. Ironshore did not honor SAEDF’s

reasonable expectations that its insurer would respond in a timely and reasonable

manner. Rather, Ironshore’s repeated delay tactics seemingly were in service of its

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attempt to use the purported statute of limitations to avoid its insuring obligations.

(See D.I. 8 and 22). Ironshore took “advantage of the [parties’] unequal positions

in order to become a secondary source of injury” to SAEDF. Price v. State Farm

Mut. Auto. Ins. Co., 2013 WL 1213292 at *13 (Del. Sup. Ct. Mar. 15, 2013), aff’d

77 A.3d 272 (Del. 2013).

      In light of the foregoing, Ironshore has failed to establish that it is entitled to

summary judgment as a matter of law or that there are on no genuine issues of

material fact. Ironshore’s motion for summary judgment on Count 3 should

therefore be denied.

VI.   CONCLUSION

      SAEDF respectfully requests that this Court deny Ironshore’s motion for

summary judgment.



                                        Respectfully submitted,

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